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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


  ------------------------------------X
  BABY DOE, A CITIZEN OF AFGHANISTAN     :
  CURRENTLY RESIDING IN NORTH            :
  CAROLINA, BY AND THROUGH NEXT          :                  CIVIL ACTION NO. 3:22-CV-49
  FRIENDS, JOHN AND JANE DOE;AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,       :
                                         :
       Plaintiffs,                       :
                                         :
  v.                                     :
                                         :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                                :
                                         :
       Defendants,                    :
                                       :
  and                                  :
                                       :
  UNITED STATES SECRETARY OF STATE    :
  ANTONY BLINKEN AND UNITED STATES :
  SECRETARY OF DEFENSE GENERAL         :
  LLOYD AUSTIN,                       :
                                      :
       Nominal Defendants.            :

  ------------------------------------X


     MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION TO SEAL
    EXHIBIT 4 TO PLAINTIFFS’ OPPOSITION TO DEFENDANT RICHARD MAST’S
                  MOTION TO VACATE PROTECTIVE ORDER

         Pursuant to Local Civil Rule 9 and this Court’s Protective Order (ECF No. 26), Plaintiffs

  seek to file Exhibit 4 to Plaintiffs’ Opposition to Defendant Richard Mast’s Motion to Vacate

  Protective Order (“Plaintiffs’ Opposition”) under permanent seal to protect the safety of Plaintiff

  Baby Doe. Exhibit 4 to Plaintiffs’ Opposition contains Baby Doe’s American name given to her
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  by Joshua Mast and Stephanie Mast, while the Court’s Protective Order (ECF No. 26) requires

  that she be referred to as “Baby Doe.” In addition, Exhibit 4 to Plaintiffs’ Opposition is a document

  subject to a sealing order issued by the Circuit Court of the County of Fluvanna. See ECF No. 73,

  Exh. B.

          Under the common law right of access to judicial records, documents should be sealed

  when a party’s interest in keeping the information contained therein confidential outweighs the

  presumed right of public access. See, e.g. Stone v. Univ. of Maryland Med. Sys. Corp., 855 F.2d

  178 (4th Cir. 1988); Ashcroft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000). “Courts have

  recognized that an interest in protecting the physical and psychological well-being of individuals

  related to the litigation, including family members and particularly minors, may justify restricting

  access” to court documents. United States v. Harris, 890 F.3d 480, 492 (4th Cir. 2018); see also

  United States v. Doe, 962 F.3d 139, 147 (4th Cir. 2020).

          In this instance, this Court recognized the threat to Baby Doe and Plaintiffs in its Protective

  Order (ECF No. 26). Plaintiffs have publicly filed their Opposition. Thus, the public is not wholly

  deprived of an understanding of the general underlying factual basis for the request. The relief

  Plaintiffs seek in this motion is narrowly tailored to the circumstances, and aims to seal only what

  is absolutely necessary to safeguard the safety of persons related to the litigation. Defendants are

  not prejudiced as they are aware of Plaintiffs’ identities and are parties to the sealed proceeding.

          Accordingly, Plaintiffs request that Exhibit 4 to Plaintiffs’ Opposition be filed under

  permanent seal, as the risks attendant to public disclosure of these is not likely to dissipate over

  time.
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  Dated: March 17, 2023        Respectfully submitted,

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                               Counsel for Plaintiffs
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 17th day of March, 2022, I electronically filed the foregoing

  with the Clerk of the Court using the CM/ECF system, which will send a notification of such filing

  to all CM/ECF participants.




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